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 6
                                  UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF NEVADA

 8
     UNITED STATES OF AMERICA,
 9                                                    Case No. 2:21-mj-00815-DJA
                   Plaintiff,
10
                           v.                         STIPULATION TO CLOSE CASE
11
     DAVIE KYLE BRANSTETTER,
12
                   Defendant.
13

14

15          IT IS HEREBY STIPULATED AND AGREED, by and between Jason M. Frierson,

16   United States Attorney and Mina Chang, Assistant United States Attorney, counsel for the

17   United States of America, and Sean P. Sullivan, Esq., counsel for defendant Davie Kyle

18   Branstetter, that this case be closed.

19          This Stipulation is entered into for the following reasons:

20      1. On March 23, 2022, defendant Davie Kyle Branstetter entered into a Petty Offense Plea

21          Agreement with the United States in which he agreed to plead guilty to Count One of the

22          Complaint, Operating a Motor Vehicle while Under the Influence of Alcohol, in violation

23          of 36 C.F.R. § 4.23(a)(1). ECF No. 7.

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 1     2. The parties agreed to recommend that defendant be sentenced to one year of

 2        unsupervised probation with the following special conditions: (i) pay a $500 fine and a

 3        mandatory $10 penalty assessment; (ii) attend and complete the Lower Court

 4        Counseling’s (1) DUI course and (2) Victim Impact Panel; (iii) complete an eight [hour]

 5        online alcohol awareness course; (iv) not return to Lake Mead National Recreation Area

 6        for a period of six months; and (v) not violate any local, state, or federal laws. ECF No. 7

 7        at 2.

 8     3. The parties further agreed that if defendant successfully completed special conditions (i),

 9        (ii), (iii), and (iv) within six months of his unsupervised probation, the parties would

10        allow defendant to withdraw his guilty plea to Count One; the United States would move

11        to amend Count One to a charge of Reckless Driving in violation of 36 C.F.R. § 4.2 and

12        N.R.S. 484B.653; defendant would plead guilty to amended Count One; and the parties

13           would jointly agree that the original sentence be applied to amended Count One. Id.

14     4. On March 23, 2022, this Court sentenced defendant pursuant to the parties’ plea

15        agreement. See ECF No. 6.

16     5. Since commencing his term of unsupervised probation, defendant has successfully

17        completed conditions (i), (ii), (iii), and (iv). See Ex. A.

18     6. Accordingly, the United States moves to amend Count One of the Complaint to a charge

19           of Reckless Driving in violation of 36 C.F.R. § 4.2 and N.R.S. 484B.653 (“Amended

20           Count One”).

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22   / / /

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 1   7. Defendant hereby pleads guilty to Amended Count One of the Complaint.

 2   8. The parties jointly request that the original sentence be applied to Amended Count One

 3      and for the case to be closed.

 4

 5      DATED this 12th day of October, 2022.

 6

 7                                   Respectfully submitted,

 8                                                   JASON M. FRIERSON
                                                     Acting United States Attorney
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10   /s/ Sean P. Sullivan____________________        /s/ Mina Chang _______________
     SEAN P. SULLIVAN                                MINA CHANG
11   Counsel for Defendant BRANSTETTER               Assistant United States Attorney

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 2                              UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEVADA
 3

 4   UNITED STATES OF AMERICA,
                                                    Case No. 2:21-mj-00815-DJA
 5                Plaintiff,

 6                        v.
                                                    [PROPOSED] ORDER
 7   DAVIE KYLE BRANSTETTER,

 8                Defendant.

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10
            Based on the pending Stipulation of counsel, and good cause appearing therefore, the
11   Court finds that:
12      1. Defendant Davie Kyle Branstetter has successfully completed the conditions of his

13          sentencing.

14                                              ORDER
            IT IS HEREBY ORDERED that Count One is amended to Reckless Driving in violation
15
     of 36 C.F.R. § 4.2 and N.R.S. 484B.653; and
16
            IT IS FURTHER ORDERED that this case be closed.
17

18              13th day of October, 2022.
     DATED this ____
19

20                                                      _________________________________
                                                           HON. DANIEL J. ALBREGTS
21                                                      UNITED STATES MAGISTRATE JUDGE

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        EXHIBIT A
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